Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 1 of 53 PageID 2462
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                          1–4




                                                 EXHIBIT H



                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 2 of 53 PageID 2463
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                          5–8




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 3 of 53 PageID 2464
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                         9–12




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 4 of 53 PageID 2465
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                       13–16




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 5 of 53 PageID 2466
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                       17–20




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 6 of 53 PageID 2467
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                       21–24




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 7 of 53 PageID 2468
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                       25–28




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 8 of 53 PageID 2469
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                       29–32




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 9 of 53 PageID 2470
     ANDREAS SANTAYANA, M.D.                                  December 04, 2019
     RING vs BOCA CIEGA YACHT CLUB                                       33–36




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com  YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 10 of 53 PageID 2471
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       37–40




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 11 of 53 PageID 2472
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       41–44




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 12 of 53 PageID 2473
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       45–48




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 13 of 53 PageID 2474
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       49–52




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 14 of 53 PageID 2475
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       53–56




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 15 of 53 PageID 2476
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       57–60




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 16 of 53 PageID 2477
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       61–64




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 17 of 53 PageID 2478
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       65–68




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 18 of 53 PageID 2479
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       69–72




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 19 of 53 PageID 2480
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       73–76




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 20 of 53 PageID 2481
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       77–80




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 21 of 53 PageID 2482
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       81–84




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 22 of 53 PageID 2483
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       85–88




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 23 of 53 PageID 2484
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       89–92




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 24 of 53 PageID 2485
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                       93–96




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 25 of 53 PageID 2486
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                      97–100




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com   YVer1f
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 26 of 53 PageID 2487
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                     101–104




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 27 of 53 PageID 2488
      ANDREAS SANTAYANA, M.D.                                  December 04, 2019
      RING vs BOCA CIEGA YACHT CLUB                                          105




                                                            800.211.DEPO (3376)
                                                            EsquireSolutions.com
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 28 of 53 PageID 2489
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 29 of 53 PageID 2490
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 30 of 53 PageID 2491
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 31 of 53 PageID 2492
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 32 of 53 PageID 2493
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 33 of 53 PageID 2494
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 34 of 53 PageID 2495
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 35 of 53 PageID 2496
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 36 of 53 PageID 2497
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 37 of 53 PageID 2498
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 38 of 53 PageID 2499
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 39 of 53 PageID 2500
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 40 of 53 PageID 2501
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 41 of 53 PageID 2502
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 42 of 53 PageID 2503
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 43 of 53 PageID 2504
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 44 of 53 PageID 2505
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 45 of 53 PageID 2506
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 46 of 53 PageID 2507
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 47 of 53 PageID 2508
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 48 of 53 PageID 2509
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 49 of 53 PageID 2510
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 50 of 53 PageID 2511
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 51 of 53 PageID 2512
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 52 of 53 PageID 2513
Case 8:19-cv-00772-VMC-JSS Document 129-41 Filed 01/24/20 Page 53 of 53 PageID 2514
